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                                      COUNTY OF SUFFOLK




                                           STEVE BELLONE
                                      SUFFOLK COUNTY EXECUTIVE


DENNIS M. BROWN                                                      DEPARTMENT OF LAW
ACTING COUNTY ATTORNEY




September 26, 2023


Catherine O’Hagen Wolfe
Clerk of the Court
U.S. Court of Appeals for the Second Circuit
40 Foley Square
New York, New York 10007

Re:     Giambalvo v. Suffolk County
        Docket No. 23-208


Dear Ms. Wolfe:

The Suffolk County Attorney’s Office represents the Suffolk County defendants-appellees in
this appeal scheduled for argument tomorrow, September 27, 2023. The appeal is from the
Memorandum of Decision and Order of the United States District Court for the Eastern
District of New York dated February 14, 2023 denying plaintiffs-appellants’ motion for a
preliminary injunction against certain aspects of defendants-appellees’ requirements for
obtaining pistol licenses. We submit this letter to apprise the Court of relevant
developments since the submission of the briefs.

This office has been advised by our clients that two of the plaintiffs-appellants, Shane
Mashkow and Kevin McLaughlin, have now received “dwelling” pistol licenses. Mashkow
and McLaughlin, as well as plaintiff-appellant Michael McGregor who already had a
“dwelling” license, may now proceed to amend their licenses to “carry” licenses upon
taking the training course required by New York State law. Suffolk County is not arresting
dwelling pistol license holders for taking the course.

Plaintiff-appellant John Mougious has been disapproved for a pistol license. Plaintiff-
appellant Zachary Giambalvo has yet to submit to the Suffolk County Police Department
documentation that prior criminal charges against him were dismissed.




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Respectfully, Suffolk County defendants-appellees ask that the Memorandum of Decision
and Order appealed from be affirmed.


Respectfully submitted,

Dennis M. Brown
Acting Suffolk County Attorney

/s/ Arlene S. Zwilling
Arlene S. Zwilling
Assistant County Attorney




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